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                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                            Crim. No. 18-CR-32-2 (DLF)

 CONCORD MANAGEMENT AND
 CONSULTING LLC,
                                             FILED UNDER SEAL
                Defendant.



                            GOVERNMENT’S MOTION TO SEAL

       The United States of America, by and through undersigned counsel, respectfully requests

that the Court permit the government to file under seal its renewed motion for an early-return trial

subpoena to Concord Management and Consulting LLC. In support of its position, the government

states as follows.

       The Court has the inherent power to seal court filings when appropriate. United States v.

Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980) (citing Nixon v. Warner Communications, Inc.,

435 U.S. 589, 598 (1978)). Such sealing is within the discretion of the Court. See Nixon, 435

U.S. at 598 (common-law right to inspect and copy judicial records is not absolute, and the

decision whether to permit access is best left to the sound discretion of the trial court in the light

of the relevant facts and circumstances of the particular case).

       While there is a “strong presumption in favor of public access to judicial proceedings,”

Johnson v. Greater SE Cmty. Hosp. Corp., 951 F.2d 1268, 1277 (D.C. Cir. 1991), that

presumption is not absolute. The D.C. Circuit has recognized that “a district court can ensure

that [grand jury] secrecy is protected by provisions for sealed, or when necessary ex parte,

filings.” In re Grand Jury Subpoena, Judith Miller, 438 F.3d 1141, 1150 (quoting In re Grand

Jury, 121 F.3d 729, 757 (D.C. Cir. 1997) (alteration in original)). “Indeed, the rule of grand jury
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secrecy is so well established that we have noted that ‘[t]here is a plethora of authority

recognizing that the grand jury context presents an unusual setting where privacy and secrecy are

the norm.’” Id. (quoting In re Sealed Case, 199 F.3d 522, 526 (D.C. Cir. 2000)). Here, the

government’s motion discusses documents that have been produced to the defense as “U.S.

sensitive materials.” Pursuant to the protective order, the motion is being filed in hard copy

under seal with the Clerk’s office. Doc. 189 ¶ 21. Should the Court grant this motion, the

government will file a redacted version of the renewed motion for an early-return trial subpoena

on the public docket.



                                       Respectfully submitted,


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